         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                        No. 1D2022-2479
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MICHAEL WILLIS MITCHELL II,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Escambia County.
Jennie Kinsey, Judge.

                       August 23, 2024


PER CURIAM.

    AFFIRMED.

OSTERHAUS, C.J., and ROWE and LONG, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Jessica J. Yeary, Public Defender, and Kathryn Lane, Assistant
Public Defender, Tallahassee, for Appellant.

Ashley Moody, Attorney General, and Heather Ross, Assistant
Attorney General, Tallahassee, for Appellee.




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